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                           UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, LP,                               §              Case No. 17-40179
                                                           §              Chapter 7
        DEBTOR.                                            §

 ORDER GRANTING TRUSTEE’S MOTION FOR AUTHORITY TO COMPROMISE
        CONTROVERSIES PURSUANT TO FED. R. BANKR. P. 9019(b)

        Upon consideration of the Motion of Jason R. Searcy, chapter 11 Trustee for the

bankruptcy estate of Payson Petroleum, Inc. (the “Trustee”), for Authority to Compromise

Controversies Pursuant to Federal Rule of Bankruptcy Procedure 9019(b) (the “Motion”); and the

Court having found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334;

and the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and

that the Court may enter a final order consistent with Article III of the United States Constitution;

and the Court having found that venue in this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the relief requested in

the Motion is in the best interests of the Debtor’s estate, its creditors, and other parties in interest,

and this Court having found that notice of the Motion and opportunity for hearing on the Motion

were appropriate and no other notice need be provided; and this Court having heard the statements

in support of the relief requested therein at a hearing, if any, before this Court (the “Hearing”); and

the Court having determined that the legal and factual basis set forth in the Motion and at the

Hearing, if any, establish just cause for the relief granted herein; and upon all of the proceedings

had before the Court and after due deliberation and sufficient cause appearing therefor, it is hereby




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       ORDERED, ADJUDGED, AND DECREED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      The Trustee is authorized to settle claims against the defendants in Adversary

Proceeding No. 18-04074 and to dismiss claims against the defendants under Federal Rule of Civil

Procedure 41(a)(1), made applicable by Rule 7041 of the Federal Rules of Bankruptcy Procedure,

without further notice, hearing, or order of the Court.

       3.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this order.


                                                                Signed on _______________, 2018



                                                                ____________________________________
                                                                HONORABLE BRENDA T. RHOADES.
                                                                UNITED STATES BANKRUPTCY JUDGE




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